972 F.2d 343
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of AMERICA, Plaintiff-Appellee,v.Thomas Levi KNIGHT, Defendant-Appellant.
    No. 91-6622.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 29, 1992Decided:  August 21, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Joseph C. Howard, District Judge.  (CR-89-291-JH, CA-91-470-JH)
      Thomas Levi Knight, Appellant Pro Se.
      Susan Moss Ringler, Office of the United States Attorney, Baltimore, Maryland, for Appellee.
      D.Md.
      Affirmed.
      Before WIDENER, WILKINS, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Thomas Levi Knight appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  United States v. Knight, Nos.  CR-89-291-JH, CA-91-470-JH (D. Md. July 18, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Our disposition of Knight's appeal renders moot his motion for expeditious review and judgment
      
    
    